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 1   Michael John Avenatti (Pro Se)
 2   H. Dean Steward, SBN 85317
     17 Corporate Plaza, Suite 254
 3   Newport Beach, California 92660
     Tel (949) 481-4900
 4   Fax (949) 497-6753
 5   Advisory Counsel for Defendant
     MICHAEL JOHN AVENATTI
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 7
                               UNITED STATES DISTRICT COURT
 8
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                   SA CR No. 19-061-JVS
11                Plaintiff,                      DEFENDANT’S RENEWED MOTION
12                       v.                       FOR AN ORDER DIRECTING THE
                                                  PRIVILEGE REVIEW TEAM TO FILE,
13    MICHAEL JOHN AVENATTI,                      IN CAMERA, ALL OF THEIR PRIOR
14                Defendant.                      COMMUNICATIONS WITH THE
                                                  PROSECUTION TEAM
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19         Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his
20   advisory counsel of record, H. Dean Steward, hereby files this Motion for an Order
21   Directing the Privilege Review Team to File, In Camera, All of Their Prior
22   Communications with the Prosecution Team.
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      Dated: August 22, 2021                  Respectfully submitted,
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                                             /s/ Michael J. Avenatti
25
                                             Defendant
26                                           MICHAEL JOHN AVENATTI
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
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 3         On August 15, 2021, Mr. Avenatti filed a Notice of Motion and Motion to Dismiss
 4   the Case or In the Alternative Motion for Mistrial due to the Government’s (1) Failure to
 5   Produce Information as Required by Rule 16, Brady, Giglio, and (2) Contempt of this
 6   Court’s January 25, 2021 Order. This motion was brought in response to the
 7   government’s failure to produce the Tabs and complete QuickBooks data from the Eagan
 8   Avenatti, LLP servers. [Dkt. 705.] In preparation for the hearing on this motion, the
 9   Court ordered:
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           “Obviously the Tabs issue is an important one, and I would like Mr.
11         Fitzgerald here or his designee or whoever is heading up the taint team. I want
12         to know whether the Tabs data is in the materials that the taint team holds.
           The present record would seem to indicate that no inquiry has been made of
13         the taint team with respect to the Tabs data.”
14         See, e.g., Trial Tr. (8/19/21, Vol. 1) p. 23.
15
16         On August 20, 2021, the Court held a hearing on the matter with AUSA Patrick
17   Fitzgerald, head of the Privilege Review Team (the “PRT”), present. During the hearing,
18   Mr. Avenatti asked the Court for the following relief:
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20         “One request, Your Honor. To the extent that there has been any requests
           made by the prosecution team to the taint team for production of documents
21         during the case, I would ask that those be submitted in camera to Your
22         Honor. And the reason is because it goes directly to the question of access
           and availability, and so I would make that request.”
23         See, e.g., Trial Tr. (8/20/21, Vol. 1) p. 17 (emphasis added).
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           In response, Mr. Fitzgerald told the Court: “Your Honor, I can answer that now.

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     They [sic] have been no requests, and we have not produced anything. I have not been

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     involved in the trial at all other than reading media reports and yesterday when the

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     Court’s request to be down here was conveyed to me.” See, e.g., Trial Tr. (8/20/21, Vol.
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 1   1) p. 17-18. AUSA Sagel and AUSA Wyman made no statement in response to Mr.
 2   Fitzgerald’s answer to Mr. Avenatti’s request.
 3         Following the hearing, and surprised by the representation made to the Court and
 4   the defense, the defendant conducted a review of prior filings and transcripts that
 5   addressed the work of the PRT and might evidence any coordination or communication
 6   with the AUSAs assigned to this case during 2019, 2020 and 2021. This review
 7   suggested that AUSA Fitzgerald’s representation was not accurate and that there had
 8   been considerable private coordination from 2019-2021 between the PRT and the
 9   AUSAs prosecuting this case and that the AUSAs had made specific requests to the PRT
10   for certain financial documents and files, and categories of materials, from the servers
11   and other EA electronic devices during this time period. For example, on August 12,
12   2019, the prosecution filed its “Opposition to Defendant Michael John Avenatti’s
13   Motion to Compel Discovery” and stated: “[T]he USAO’s Privilege Review Team has
14   already located on one of the EA Devices copies of EA LLP’s QuickBooks accounting
15   records, which are being processed and should be produced to defendant shortly.” [Dkt.
16   55, p. 15.] However, before this filing, the PRT never communicated this fact to the
17   defense. Thus, it appeared that in 2019, the prosecution team was having private,
18   specific communications with the PRT about which financial data was needed, being
19   identified, searched for, discovered and produced.
20         On Saturday, August 21, 2021, Mr. Avenatti and advisory counsel had a
21   conference call with AUSA Fitzgerald regarding the search of the EA servers (as of this
22   filing, the PRT and the defense are cooperating in getting this accomplished). During this
23   call, Mr. Avenatti asked AUSA Fitzgerald about his representation to the Court and
24   explained that he found it odd in light of the August 12, 2019 filing (referenced above)
25   and other facts that suggested that there had been extensive coordination. AUSA
26   Fitzgerald immediately stated that he must have misunderstood defendant’s request on
27   Friday as asking for communications “during the trial” as opposed to “during the case.”
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 1   When Mr. Avenatti explained that he meant “the case” as he stated during the hearing,
 2   Mr. Fitzgerald readily acknowledged that his representation to the Court in response to
 3   that request was not accurate in response to what defendant had asked;1 that the PRT and
 4   the prosecution team had been in regular contact during 2019-2021 and that the
 5   prosecution team had made requests for specific documents and categories of
 6   documents. None of these communications were ever shared with the defense and the
 7   defense remains in the dark as to what the prosecution team requested from the PRT and
 8   when.
 9           Accordingly, Mr. Avenatti comes now and renews his request for an Order
10   directing the PRT to file, in camera, all of their communications with the prosecution
11   team. These communications are important in order for the Court to determine what the
12   prosecution team sought access to, what they were provided access to, and what the
13   prosecution team actually had in their possession. They are also important to establish
14   what the prosecution team had knowledge of as it related to the financial data on the
15   servers. They also may have a bearing on whether the prosecution fulfilled its obligation
16   to seek all relevant exculpatory materials in connection with this case. See, e.g., Kyles v.
17   Whitley, 514 U.S. 419 (1995)(“the individual prosecutor has a duty to learn of any
18   favorable evidence known to others acting on the government’s behalf in the case …
19   whether, that is, a failure to disclose in good faith or bad faith -- the prosecution’s
20   responsibility for failing to disclose known and favorable evidence rising to a material
21   level of importance is inescapable.”).2 Moreover, the communications between the PRT
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      Mr. Avenatti is not suggesting that AUSA Fitzgerald purposely sought to lead the
23   Court astray.
24   2
      Mr. Avenatti has consistently objected to the manner in which AUSA Sagel and AUSA
25   Wyman have defined “prosecution team” and “government” for the purposes of
26
     discovery obligations. The law is clear that a prosecutor is not relieved of his discovery
     obligations by unilaterally altering the definition of government or providing
27   unsupported justifications as to what is within the prosecution team’s reach. United
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 1   and the AUSAs prosecuting this matter may shed considerable light on whether the PRT
 2   was truly independent as required.
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      Dated: August 22, 2021                  Respectfully submitted,
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 5                                           /s/ Michael J. Avenatti
 6                                            Defendant
                                              MICHAEL JOHN AVENATTI
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25   States v. Bryan, 868 F.2d. 1032, 1036 (9th Cir. 1989) (“the prosecutor will be deemed to
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     have knowledge of and access to anything in the possession, custody or control of any
     federal agency participating in the same investigation of the defendant.” (emphasis
27   added)).
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 1
                                  CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California.
 4
 5   I am not a party to the above-entitled action. I have caused, on August 22, 2021, service

 6   of the:
 7
          DEFENDANT’S RENEWED MOTION FOR AN ORDER DIRECTING THE
 8       PRIVILEGE REVIEW TEAM TO FILE, IN CAMERA, ALL OF THEIR PRIOR
 9              COMMUNICATIONS WITH THE PROSECUTION TEAM

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     on the following party, using the Court’s ECF system:
11
12   AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
13
     I declare under penalty of perjury that the foregoing is true and correct.
14
     Executed on August 22, 2021
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                                             /s/ H. Dean Steward
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                                             H. Dean Steward
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